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                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                      CRIMINAL ACTION

CODA STOVALL                                NUMBER 12-133-JJB-SCR


                                 NOTICE

     Please take notice that the attached Magistrate Judge’s Report
has been filed with the Clerk of the U. S. District Court.
     In accordance with 28 U.S.C. §636(b)(1), you have 14 days
after being served with the attached report to file written
objections to the proposed findings of fact, conclusions of law,
and recommendations set forth therein. Failure to file written
objections   to    the   proposed    findings,   conclusions    and
recommendations within 14 days after being served will bar you,
except upon grounds of plain error, from attacking on appeal the
unobjected-to proposed factual findings and legal conclusions
accepted by the District Court.

     ABSOLUTELY NO EXTENSION OF TIME SHALL BE GRANTED TO FILE
WRITTEN OBJECTIONS TO THE MAGISTRATE JUDGE'S REPORT.

     Baton Rouge, Louisiana, July 1, 2014.



                                  STEPHEN C. RIEDLINGER
                                  UNITED STATES MAGISTRATE JUDGE
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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                             CRIMINAL ACTION

CODA STOVALL                                       NUMBER 12-133-JJB-SCR


                         MAGISTRATE JUDGE’S REPORT

       Before the court is the Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody filed by petitioner Coda Stovall.                Record document number

289.

       For the reasons which follow, the petitioner’s § 2255 motion

should be denied.

                           I. Procedural History

       On September 10, 2013, the petitioner pled guilty to one count

Conspiracy     to   Distribute      and   to   Possess    with      the   Intent   to

Distribute Cocaine in violation of 21 U.S.C. § 846.                  On January 9,

2014, the petitioner was sentenced to imprisonment for a term of 70

months.     Petitioner did not appeal his conviction or sentence.

       Petitioner signed his § 2255 motion on April 15, 2014, and it

was filed on April 21, 2014.              Petitioner asserted the following

grounds for relief:

       Ground One        the district court erred in assigning three
                         criminal-history points related to his July
                         27, 1996 arrest and subsequent conviction on
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                       a charge of distribution of cocaine in the
                       Nineteenth Judicial District Court for the
                       Parish of East Baton Rouge;

     Ground Two        the district court erred in assigning one
     and               criminal-history point related to his
     Ground Three      September 1, 2001 arrest and subsequent
                       conviction on charges of operating a vehicle
                       while intoxicated and failure to maintain
                       control in the Baton Rouge City Court; and,

     Ground Four       the base offense level under the USSG should
                       have been 26 rather than 28.

     Petitioner’s § 2255 motion was filed timely.          No evidentiary

hearing is required.


                    II. Applicable Law and Analysis

     A. Grounds for § 2255 Motion

     There are four grounds upon which a federal prisoner may move

to vacate, set aside, or correct his sentence: (1) the sentence was

imposed in violation of the Constitution or laws of the United

States; (2) the court was without jurisdiction to impose the

sentence; (3) the sentence exceeds the statutory maximum sentence;

and, (4) the sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255; Hill v. United States, 368 U.S. 424, 426-27, 82

S.Ct. 468, 470-71 (1962).

     B. Procedural Default

     Generally, claims not raised on direct appeal may not be

raised on collateral review unless the petitioner shows cause for

not doing so and that he was prejudiced by the alleged error.



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United States v. Frady, 456 U.S. 152, 167-168, 102 S.Ct. 1584

(1982); Bousley v. United States, 523 U.S. 614, 621-622, 118 S.Ct.

1604 (1998).

     It is well settled that a § 2255 motion is not a substitute

for a direct appeal.1   A prisoner may not assert a sentencing error

claim for the first time in a collateral attack unless he shows

cause for his procedural default and actual prejudice resulting

from the asserted error.     United States v. McGrew, 397 Fed. Appx.

87, 91 (5th Cir. 2010).      The § 2255 cause and actual prejudice

standard presents a significantly higher hurdle than the plain

error standard of review that is applied on direct appeal.         United

States v. Pierce, 959 F2d 1297, 1301 (5th Cir. 1992).

     Petitioner did not argue that he has overcome the procedural

bar by demonstrating the necessary cause and prejudice2 or a

     1
       Petitioner asserted that he did not raise any of these
grounds for relief on appeal because hew was advised not to appeal
by his attorney. Petitioner entered into a Plea Agreement in which
he waived his rights to appeal and to challenge his conviction and
sentence in any post-conviction proceeding, including a § 2255
proceeding, except in circumstances which do not apply here.
Record document number 140, p. 4, ¶ 10.
     2
       The “cause” standard requires the petitioner to show that
“some objective factor external to the defense” prevented him from
timely raising the claims he now advances. Murray v. Carrier, 477
U.S. 478, 488, 106 S.Ct. 2639, 2645 (1986). Objective factors that
constitute cause include interference by officials that make
compliance with the procedural rule impracticable, a showing that
the factual or legal basis for the claim was not reasonably
available to counsel at the prior occasion, and ineffective
assistance of counsel in the constitutional sense. Id.
     In addition to establishing cause for his procedural default,
                                                    (continued...)

                                   3
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fundamental    miscarriage       of     justice.3       Consequently,         the

petitioner’s claims are procedurally barred.


                             RECOMMENDATION

     It is the recommendation of the magistrate judge that the

petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody be denied.

     Baton Rouge, Louisiana, July 1, 2014.



                                       STEPHEN C. RIEDLINGER
                                       UNITED STATES MAGISTRATE JUDGE




     2
      (...continued)
the petitioner must also show actual prejudice to overcome it.
United States v. Bowes, 139 F.3d 900 (5th Cir. 1998).
     3
       To establish a fundamental miscarriage of justice, the
petitioner must demonstrate his actual innocence. United States v.
Flores, 981 F.2d 231, 236 (5th Cir. 1993).

                                        4
